
221 Md. 586 (1959)
155 A.2d 651
NORTHINGTON
v.
WARDEN OF MARYLAND PENITENTIARY
[P.C. No. 32, September Term, 1959.]
Court of Appeals of Maryland.
Decided November 23, 1959.
*587 Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
PER CURIAM:
In this application for leave to appeal from denial of a petition for relief under the Post Conviction Procedure Act, the applicant contends: (1) That there was insufficient evidence to convict of statutory rape, (2) that the testimony of the girl was contradictory and vague, (3) that he was not advised of his right to appeal, and (4) that the girl and her mother testified falsely. As to (1) and (2) we have repeatedly held that the sufficiency or weight of evidence cannot be raised in such a proceeding as this. As to (3), the applicant was represented by counsel, and it is clear that failure to advise as to a right of appeal is not equivalent to a denial of the right. See Davis v. Warden, 217 Md. 662; Cooper v. Warden, 214 Md. 629, 632; Finley v. Warden, 211 Md. 650, 652. As to (4), the bald allegation of perjury does not call for relief under the Act. State v. D'Onofrio, 221 Md. 20.
Application denied.
